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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

 EMERGENCY MOTION FOR IMMEDIATE HOSPITALIZATION AND PRE-TRIAL
                          RELEASE

       Comes now Defendant Jeffrey McKellop, by counsel, and moves the Court to order the

immediate hospitalization of Defendant for treatment of a dangerous oral abscess – following

which he should be released from pre trial confinement on conditions suitable to the Court.

       Defendant has for several weeks suffered a very debilitating tooth ache and has requested

orally and in writing that the staff of the Central Treatment Facility (“CTF”) afford him adequate

medical care. His repeated requests have been dismissed or minimized, and he received no

meaningful medical care with the predictable result that his condition worsened. Finally, he was

issued antibiotics yesterday. Nonetheless, his condition has apparently continued to decline. As

per a pod mate as reported to his counsel, Defendant’s pain has gone from severe to agonizing,

and his jaw is grossly distended. Undersign fears an abscess and sepsis with potentially grave

consequences.

       Defendant needs to be transferred forthwith to a hospital to preclude further deterioration

of his condition.

       Once his condition has stabilized, the court should consider appropriate conditions for his

release for the reasons previously propounded to the court and because CTF has definitively

demonstrated its inability (or unwillingness) to care for the welfare of defendant.



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                                                     Respectfully submitted,

                                                     JEFFREY McKELLOP
                                                     By Counsel

                                                     _____/s/____________
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                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on August 3, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System with consequent service on all parties

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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